Case 4:19-cv-01449 Document 1-3 Filed on 04/19/19 in TXSD Page 1 of 5




                      Exhibit B

  Photographs of Defendants’ Salon
             Case 4:19-cv-01449 Document 1-3 Filed on 04/19/19 in TXSD Page 2 of 5




(41 Itnii
                   " 1 1-,1
                                                             \:_tt
       v-T
 R=;                                                                                    4 1111F
                                                               SI
                                         .02,1

                                                            ,,,,,-,
                                                              A, ,rk:
                                                          411 .T-              1%.-


                                                                .71
                                                                              -,-' __

                                                                                ..,;
                                                          '...',
                                                                   r7":"...


                                                 e



                                                     tN
                                                                                                  t,t,
                                                                                                   .51   •
     Case 4:19-cv-01449 Document 1-3 Filed on 04/19/19 in TXSD Page 3 of 5




II
                                            I;
                                                                             Jan


                                                                _SS

             a ilk_ AI




                   •
    Case 4:19-cv-01449 Document 1-3 Filed on 04/19/19 in TXSD Page 4 of 5




/




                                          Air



                 _
                               Case 4:19-cv-01449 Document 1-3 Filed on 04/19/19 in TXSD Page 5 of 5




  48War
 +lip Air.
                                        11111111111111111W                                                                                 "-..
                                                                                                                                                    _.......
                                                                                                                                                      • Eir  .....-,. ....,

                                                                                                                                                    .. 4411frl
                                                                                                                                                             .



                                                                                                                                    '----.,''1 ' 1-
                                                                                                                                              ii
                                                                                                                                              1.   4     -___ ----I- ----7,
                                                                                                                           ,,....."' "•;,.. ....,, , —           --,-,'
"." .....,                     ....•-                                                                             ..... --....- -"ci 1 .           "".... - -1-,      ..
.t.c,•••7""....1......            ...... -                                                             ,.. ...4 ... 7 0„ 7i i . .....„._,-
                                                                                                       ..........                          ,......_--,
   ,...-,Z"...r...-442`.....            ___•
                                          - -.-                                                      -z... .....- .: • . -                .
'--    1•--'411Trab




                                                                                                                  I

                                         z   '




                                                                            ;- :=77   4
                                                           _.G-,'ice
                                                               ,     ;"a Lits."ift
                                                                                ..A
                                                                                 0     ,2
                                                                    71,'.             0'j     _



                                                                                            f -.
                                                            4     0q ,
                                                                  't, h



                                                                                                   mar

                                                     >7,
